Case 1:23-cv-03621-SCJ Document 57 Filed 08/24/23 Page 1 of 15 PO)
Cheeks OFF
FILED NOPENCOURT

U.S.D.C. - Atlanta

The State of Georgia v. Meadows (1:23-cv-03621) District Court, N.D. Georgia Judge StevAdGMidnat23
Jones - Movant David Andrew Christenson on behalf of himself, the American People, ang iu
August 23", 2023. By: i)

i Der, Clerk
apyaty,

Motion to Intervene

Do not allow this case to be transferred to Federal Court because if you do, you are giving Humanity a
death sentence.

Call Chief Justice William Pryor Jr. and ask him if you should give me a voice and if you should return the
case to Georgia. | beg you to give Humanity two minutes to make a simple phone call.

This case is about Censorship which has become the most powerful weapon in the history of
Humanity. (Think | am kidding? The tampering took place before, during and after the election. We are
not looking at it right. We set a record for mail in and absentee ballots with no additional security.
Attorney General Barr acknowledged the tampering. Look at the Second District in Nebraska and across
the river in lowa. There was a very strong possibility that the election was going to be a tie. If that
happened, Trump would win in the house. They needed on Electoral Vote to stop Trump. What
happened in the Second District is statistically impossible without an anomaly. Trump won the state by
17% and lost the Second District by 17% and yet they elected a Republican Representative. Trump won
across the river in lowa which was even more blue collar. They unanimously elected Republicans.

This case is about playing a game of Apocalyptic Chicken. What criminals will blink first? Will it be Trump
and his band of clowns or the Federal Government and their band of clowns. This case goes back to
Citizen Trump, Candidate Trump, President Elect Trump, Post Election Trump and finally Citizen Trump.
The Federal Government had Citizen Trump, Candidate Trump and then President Elect Trump under
surveillance. The crime was having President Elect Trump under surveillance. Our government found out
illegally, that Trump tampered with the 2016 election. Fruit from a poisoned tree. The unmasking of
General Mike Flynn would have exposed everything, but they played Chicken and Trump and Flynn won.
Judge Sullivan stated in Federal Court that Flynn committed Treason. | can provide documentation.

Mathematically Humanity will cease to exist in the next few years.

Mathematically Humanity is in a Contagious Endemic Murder Suicide Pandemic.

Murder Suicide has become a life choice.

This is an exponential problem. Humans that have not yet procreated are committing suicide and some
are as young as five-years old. Humanity loses eight humans in the population stream when someone
that has not yet procreated commits suicide. We cannot replace our population.

Life expectancies are decreasing at an accelerated rate.

Birth rates are negative.

Humanity has lost the ability and desire to procreate.

We would not have entered the Pandemic if the Supreme Court had ordered a response, just a response,
to my Writ of Mandamus and Prohibition 14-10077. | have four Writs in the Supreme Court public
docket. (Ask Jeffery Bossert Clark why he entered an appearance on behalf of BP Oil in a case (Writ)
Case 1:23-cv-03621-SCJ Document 57 Filed 08/24/23 Page 2 of 15

where they were not involved. It was because of the Karina Virus and its connection to the BP Oil Spill
and the Deepwater Horizon rig.)

The Constitution, Preamble, First Amendment, and the last sentence of the First Amendment — the right
to file a grievance - gives me a Constitutional Right to be heard.

The most important word in the Constitution is “Posterity.”

Who is speaking for our “Posterity”? The Federal Government is not. As a matter of fact, the Federal
Government is responsible for the Genocide of our “Posterity”.

The universe will record that Humanity ceased to exist because of suicide.

Godspeed. on,

Sincerely, | ZS

David Andrew Christenson / / 4 A
P.O. Box 9063 f Sz

. . ~
Miramar Beach, Florida 32550 é ,
, é
504-715-3086 ~— ——_*

davidandrewchristenson@gmail.com;
dchristenson6é@hotmail.com;

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Sensitive Compartmentalized Information (SCI) - #55 August 20°, 2023 (Published on
Amazon.com)

WHY DO YOU HATE HUMANITY? WHY ARE ALL OF YOU SUCH RACISTS?

Title: “General Colin Powell was one of the biggest racists of the last 50 years and he should
have been hung for it”, just the way all of you should be hung for the Genocide of the
American People and Humanity. He called his frauds at the United Nations General Assembly a
“blot” on his record. General Powell, the Aryan Brotherhood of Bush, Cheney, C. Rice, and
Rumsfeld, and the United States of America, along with the Supreme Court, committed
multiple genocidal frauds against Humanity. They all knew that Iraq did not have Weapons of
Mass Destruction, that Al Qaida was not operating in Iraq and that Iraq was not responsible for
911.

Without Censorship by the Supreme Court and the Federal Judiciary, they never would have
succeeded with the Genocide and Crimes Against Humanity. (Powell’s reward for the frauds
was to become a member of the Aryan Brotherhood and rich. A disproportionate number of
young black men and women died, were maimed, committed suicide, developed mental
illness, became drug addicts, homeless, etc. because of the fraudulent Iraq war.)

| am sure all of you will consider your participation in the Genocide of Humanity as a “blot” on
your record. (You all are officially a part of the Aryan Brotherhood. Minorities are paying a
disproportion price. One of the things | learned while living in New Orleans was that the
biggest enemy to black people was other black people. Name the top five things Barack and
Michell Obama did for black people. When | ask that question to black people, they give me a
blank stare. What about Biden? Biden has been a Senator, Vice President, and President for
over 50-years, and | hold him responsible for the systemic racism.)

Read the attached NY Times article. Powell gave multiple speeches and interviews promoting
the frauds. He knew the truth. (The democratic rag knew that Powell was committing fraud
but hey, war is very profitable for the media. The NY Times made a fortune.)

Your participation in Humanity’s Genocide.
(Don’t worry, you will be given a Hero’s funeral just like Powell. God, are we a screwed-up
country.)

This is all about math and it can be confirmed.
Case 1:23-cv-03621-SCJ Document 57 Filed 08/24/23 Page 4 of 15

The only chance for humanity is if the Supreme Court and the Federal Judiciary give me a voice
by ordering a response. Mathematically it is our Genocide by Suicide. Prosecuting Trump
accelerates our Genocide by Suicide. Your actions are planting the contagious seeds of our

Genocide by Suicide.

Censorship, by the Supreme Court and the Federal Judiciary, is responsible for the double digit
increase in American (excess) Deaths. After three years we are still in an influenza, pneumonia
and COVID19 epidemic/pandemic, which has also become continuously endemic. The latest
CDC report is for week 32, ending August 12", 2023. Week 32 should have the lowest rate of
the year. The rate was 6.1%. In the next ten weeks we could see this rate triple to 18.3% or
higher. We could see a million excess American deaths in the next nine months.

This Censorship is responsible for the mental and physical degradation of our population.

This Censorship is also responsible for the degradation of our immune system, soul, and spirit,
thus allowing us to become susceptible to medical and mental maladies such as Murder
Suicide, Pneumonia, lack of desire and ability to procreate, etc.

This Censorship is allowing our government to install vascular ports on us so that we can easily

obtain the weekly vaccine.

This Censorship is a grotesque form of Election Tampering. Americans are not informed

voters. Trump is playing tiddlywinks compared to your committing Genocide.

Attorney General Merrick Garland
Chief Justice Sri Srinivasan
Clerk Mark Langer

Chief Executive Betsy Paret
Special Counsel Robert Hur
Special Counsel Jack Smith
Special Counsel John Durham
Special Counsel David Weiss
Judge John G. Koeltl

Chief Judge Laura Taylor Swain
Chief Justice William Pryor Jr.
Clerk David Smith

Circuit Executive Ashlyn Beck
Judge Ellen Lipton Hollander
Judge Ursula Ungaro

Judge Lee H. Rosenthal

USAA CEO Wayne Peacock

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Jane Sullivan Roberts

Chief Justice John G. Roberts
Vice Admiral John N. Christenson
Judge Darrin P. Gayles

Judge Mary Kay Vyskocil

Judge Aileen Mercedes Cannon
Clerk Angela E. Noble

Judge Terry Alvin Doughty

Judge Amy Berman Jackson
Judge Emmet G. Sullivan

Judge Tanya Sue Chutkan
Case 1:23-cv-03621-SCJ Document 57 Filed 08/24/23 Page 5 of 15

Clerk Angela Caesar

Judge Kathleen

Mary Williams

Judge Robert N. Scola, Jr.

Judge Kevin Michael Moore
*Bridge Investment Group
*Robert Morse

*Dean Allara

*Jonath Slager

*Adam O’Farrell

*General Counsel Matthew Grant
*General Counsel Allison Ramirez

Christopher Michael Kise
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David Harbach

Jay |. Bratt

Julie A. Edelstein

Karen E. Gilbert

J.P. Cooney

Molly Gulland Gaston
John F. Lauro

Thomas Windom

Chief Justice Priscilla Richmond
Clerk Lyle W. Cayce

*Lindsey Daugherty Chief Executive Lorie Robinson

Judge James E. Boasberg

Godspeed. - Sincerely, - David Andrew Christenson - P.O. Box 9063 - Miramar
Beach, Florida 32550 - 504-715-3086 - davidancrewchristenson@gmail.com; -

dchristensonS6@hotmail.com;

8/20/23, 12:38 PM Powell Calls His U.N. Speech a Lasting Blot on His Record - The New York Times

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Powell Calls His U.N. Speech a Lasting Blot on His Record

By Steven R. Weisman - Sept. 9, 2005

WASHINGTON, Sept. 8 - The former secretary of state, Colin L. Powell, says in a
television interview to be broadcast Friday that his 2003 speech to the United
Nations, in which he gave a detailed description of Iraqi weapons programs that
turned out not to exist, was "painful" for him personally and would be a
permanent "blot” on his record.

“I'm the one who presented it on behalf of the United States to the world,” Mr.
Powell told Barbara Walters of ABCNews, adding that the presentation "will
always be a part of my record."

Asked by Ms. Walters how painful this was for him, Mr. Powell replied: "It was
painful. It's painful now." Asked further how he felt upon learning that he had
been misled about the accuracy of intelligence on which he relied, Mr. Powell
said, "Terrible." He added that it was "devastating" to learn later that some
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intelligence agents knew the information he had was unreliable but did not
speak up.

Mr. Powell also implied in the interview that the United States did not go to war
in Iraq with sufficient troops to secure the country and failed to keep sufficient
Iraqi forces to help stabilize the country.

“What we didn't do in the immediate aftermath of the war was to impose our
will on the whole country with enough troops of our own, with enough troops
from coalition forces or by re-creating the Iraqi forces, armed forces, more
quickly than we are doing now," he said.

But with Iraq still violent and plagued by sectarian conflict, the United States
has "little choice but to keep investing in the Iraqi armed forces and to do
everything we can to increase their size and their capability and their strength."
Since leaving office in January, Mr. Powell has declined interview requests. But
his expressions of regret about the weapons intelligence and the lack of troops
were consistent with many of his statements in office, especially after it became
clear that Iraq had none of the weapons that Mr. Powell had said it was
stockpiling.

He acknowledged several times that intelligence failures lay behind his
presentation on the eve of the Iraq war two years ago, but he has never
expressed any regret about the war itself. Asked by Ms. Walters, "When the
president made the decision to go to war, you were for it?" Mr. Powell said,
"Yes."

Asked about editorials asserting that he had put loyalty "ahead of leadership,"
Mr. Powell parried the question. “Well, loyalty is a trait that | value, and yes, |
am loyal," he replied. "And there are some who say, ‘Well, you shouldn’t have
supported it, you should have resigned.’ But I'm glad that Saddam Hussein is
gone."

Mr. Powell said he did not blame George J. Tenet, then the director of central
intelligence, for the failures and did not believe that Mr. Tenet tried to mislead
him.

"No, George Tenet did not sit there for five days with me, misleading me," he
said, referring to the week he spent at the Central Intelligence Agency reviewing
the evidence on Iraq before making his presentation to the United Nations.
“There were some people in the intelligence community who knew at that time
that some of these sources were not good, and shouldn't be relied upon, and
they didn't speak up. That devastated me."
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THERE IS NO ANTIDOTE AND THERE WILL NEVER BE, UNLESS WE CHANGE THE NARRATIVE.
(Published on Amazon — August 23", 2023)
THERE IS NO ANTIDOTE FOR THE KATRINA VIRUS AND THERE WILL NEVER BE, UNLESS WE CHANGE
THE NARRATIVE.

WE CANNOT START TO MAKE AN ANTIDOTE UNTIL WE HAVE UNFETTERED KNOWLEDGE.
EACH OF YOU HAS AN INFINITESIMAL PIECE 10 THE COLOSSAL JIGSAW PUZZLE WE CALL HUMANITY.
WE ARE VACCINATING HUMANITY WITH AN ACCELERANT.
MATHEMATICALLY HUMANITY WILL CEASE TO EXIST IN THE NEXT FEW YEARS.
Humanity is no longer surviving, competing, or procreating. Those are the three pillars of our species.

Our number one enemy is censorship, and it is the easiest of all our problems to rectify. (Who
represents the American People? None of the three branches of our government do.)

= Weare ina Contagious Endemic Murder Suicide Pandemic.

= Contentious between Americans is out of control.

= Humanity has destroyed the greatest fighting machine — our soul, spirit, and immune system — in
the history of the world. We crawled out of the oceans five hundred million years ago and when
the Industrial Revolution started, 250 years ago, we started to commit murder-suicide. We were
Apex Predators. We are now subservient to industrialization and technology and microscopic
viruses. (The quarantine, masks and vaccines made us bubble people.)

= How do we pay for our medical and mental health care? We are at epidemic rates/levels for
Dementia, Alzheimer’s, Parkinson’s, Multiple Sclerosis, Autism, Allergies, Asthma, Suicide(s),
Murder(s)-Suicide(s), Diabetes, Muscular Dystrophy, Fibromyalgia, influenza, and Pneumonia
(COVID 19) deaths, etc. All are connected to a degraded Immune System(s). We must have an
uncensored dialogue about vaccinations and the long-term harm they do to our immune
system(s). Our government has turned us into “Bubble People,” a vaccination for everything.
Soon everyone will have a vascular port for the vaccine of the week. We have mental illnesses
that have not been named.

= We have a negative birth rate and life expectancies are decreasing. These numbers would be far
worse if it were not for legal and undocumented immigrants. A negative 3% birthrate means the
end of Humanity. We have lost the ability and desire to procreate.

= We can never repay the debt. ETC. ETC. ETC.

Supreme Genocider and Sunarcissist Joseph R. Biden, Jr. (Trump)
President Joseph R. Biden, Jr. (Trump)
Vice President Joseph R. Biden, Jr.
Senator Joseph R. Biden, Jr.
Candidate Joseph R. Biden, Jr. (Trump)

Vice President Kamala D. Harris Chief Justice John G. Roberts
Case 1:23-cv-03621-SCJ Document 57 Filed 08/24/23 Page 8 of 15

Justice Amy C. Barrett
Justice Neil M. Gorsuch
Justice Clarence Thomas
Justice Samuel A. Anthony Alito
Justice Sonia Sotomayor
Justice Elena Kagan
Justice Brett M. Kavanaugh
Justice Ketanji B. Jackson

o Every living:
President
Vice President
Cabinet Member
U.S. Senator
U.S. Representative
Supreme Court Justice
Appellate Justice

o District Judge
Attorney General Merrick Garland
Chief Justice Sri Srinivasan
Clerk Mark Langer
Chief Executive Betsy Paret
Special Counsel Robert Hur
Special Counsel Jack Smith
Special Counsel John Durham
Special Counsel David Weiss
Judge John G. Koeltl
Chief Judge Laura Taylor Swain
Chief Justice William Pryor Jr.
Clerk David Smith
Circuit Executive Ashlyn Beck
Judge Ellen Lipton Hollander
Judge Ursula Ungaro
Judge Lee H. Rosenthal
USAA CEO Wayne Peacock

oo 000 0 0

USAA Notice of Error/Request for Information

Jane Sullivan Roberts

Godspeed. Sincerely,

David Andrew Christenson
P.O. Box 9063

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davidandrewchristenson@gmail.com;

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Vice Admiral John N. Christenson
Judge Darrin P. Gayles

Judge Mary Kay Vyskocil

Judge Aileen Mercedes Cannon
Clerk Angela E. Noble

Judge Terry Alvin Doughty
Judge Amy Berman Jackson
Judge Emmet G. Sullivan

Judge Tanya Sue Chutkan

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Judge Robert N. Scola, Jr.

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*Bridge Investment Group
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*Jonath Slager

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Thomas Windom

Chief Justice Priscilla Richmond
Clerk Lyle W. Cayce

Chief Executive Lorie Robinson

Case 1:23-cv-03621-SCJ Document 57 Filed 08/24/23 Page 9 of 15

You have been immortalized as a Genocider and Sunarcissist — August 22™, 2023.
(Published on amazon.com — August 22"4, 2023)

Censorship — which is the most grotesque form of Genocidal Suicide - has become the most powerful
weapon in the world. Humanity has accepted Censorship and the Genocidal Suicide that goes with it.

The Aryan Brotherhood of Bush, Cheney, C. Rice, Powell, Honore, and the media blockaded New Orleans
before, during and after Hurricane Katrina. The Greatest Nation in the World and we could not rescue
our fellow Americans for five days? The Censorship via a blockade allowed the Aryan Brotherhood to
coverup the release of chemical and biological warfare contaminants — The Katrina Virus and the
forerunner to COVID19. We poisoned the world.

A disproportionate number of minorities died, and will continue to die, and yet half the Aryan
Brotherhood is black. (Reminiscent of the 40-year Tuskegee Study. Our government, including Black
leaders, withheld penicillin from Black men that had syphilis. Their bodies were eaten away.)

The five-day blockade (supposedly) allowed the Katrina Virus to dissipate. Hurricane Katrina was the
perfect incubator with hot temperatures, high solids, and high humidity. Instead of dissipating, the

Katrina Virus multiplied, mutated, and spread throughout the world. (Look at stroke alley.)

THE NUMBER ONE CAUSE OF DEATH IN THE WORLD IS THE DEGRADATION OF THE LUNGS.

Censorship did not, and is not, allowing the truth to come out. The Censorship allowed us to create a
self-perpetuating apocalypse.

The moron, Geraldo Rivera, reported from Convention Center Boulevard. One hundred yards from where
he was reporting was the blockaded mighty Mississippi River. Every Cajun in South Louisiana has a boat,
food, and beer. All they had to do was walk one hundred yards and get rescued, but our government
would not allow that.

This was a cataclysmic event for Humanity because New Orleans was the Chemical and Biological
Warfare Capital of the World, and it was the birthplace of the Katrina Virus. Covid19 traces its origins to
New Orleans.

The Supreme Genocider and Sunarcissist for fifty-five plus years.
(This typifies the systemic mental illnesses that Americans suffer from. Our options are Biden or Trump.)

President Joseph R. Biden, Jr.
Vice President Joseph R. Biden, Jr.
Senator Joseph R. Biden, Jr.
Candidate Joseph R. Biden, Jr.

Vice President Kamala D. Harris Justice Amy C. Barrett
Chief Justice John G. Roberts Justice Neil M. Gorsuch
Case 1:23-cv-03621-SCJ Document 57 Filed 08/24/23 Page 10 of 15

Justice Clarence Thomas
Justice Samuel A. Anthony Alito
Justice Sonia Sotomayor
Justice Elena Kagan
Justice Brett M. Kavanaugh
Justice Ketanji B. Jackson

o Every living:
President
Vice President
Cabinet Member
U.S. Senator
U.S. Representative
Supreme Court Justice
Appellate Justice

o District Judge
Attorney General Merrick Garland
Chief Justice Sri Srinivasan
Clerk Mark Langer
Chief Executive Betsy Paret
Special Counsel Robert Hur
Special Counsel Jack Smith
Special Counsel John Durham
Special Counsel David Weiss
Judge John G. Koeltl
Chief Judge Laura Taylor Swain
Chief Justice William Pryor Jr.
Clerk David Smith
Circuit Executive Ashlyn Beck
Judge Ellen Lipton Hollander
Judge Ursula Ungaro
Judge Lee H. Rosenthal
USAA CEO Wayne Peacock

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Jane Sullivan Roberts
Vice Admiral John N. Christenson

Judge Darrin P. Gayles

Judge Mary Kay Vyskocil

Judge Aileen Mercedes Cannon
Clerk Angela E. Noble

Judge Terry Alvin Doughty
Judge Amy Berman Jackson
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Jay |. Bratt

Julie A. Edelstein

Karen E. Gilbert

J.P. Cooney

Molly Gulland Gaston

John F. Lauro

Thomas Windom

Chief Justice Priscilla Richmond
Clerk Lyle W. Cayce

Chief Executive Lorie Robinson

= Supreme Court Writ 14-10077 Extraordinary Writ with Writ of Prohibition and Writ of
Mandamus filed by David Andrew Christenson on behalf of himself, all Americans and Humanity

= United States v. Trump (9:23-cr-80101) District Court, $.D. Florida Judge Aileen M. Cannon Filed
by David Andrew Christenson on behalf of himself, all Americans and Humanity

=" United States v. Trump (1:23-cr-00257) District Court, District of Columbia Judge Tanya Sue
Chutkan Filed by David Andrew Christenson on behalf of himself, all Americans and Humanity

= 11" Circuit Writ 21-10371 Writ of Prohibition and Writ of Mandamus filed by David Andrew
Christenson on behalf of himself, all Americans and Humanity
Case 1:23-cv-03621-SCJ Document 57 Filed 08/24/23 Page 11 of 15

State of Missouri v. Biden (23-30455) Court of Appeals for the Fifth Circuit filed by David Andrew
Christenson on behalf of himself, all Americans and Humanity

United State v. Trump (23-cr-XXXXxX) Judge Amy B. Jackson District Court, District of Columbia
filed by David Andrew Christenson on behalf of himself, all Americans and Humanity

Azelea Woods of Ouachita v. Peoples Republic of China (3:20-cv-00457) District Court, W.D.
Louisiana Judge Terry Alvin Doughty Filed by David Andrew Christenson on behalf of himself, all
Americans and Humanity

Missouri v. Biden (3:22-cv-01213) District Court, W.D. Louisiana Judge Terry Alvin Doughty Filed
by David Andrew Christenson on behalf of himself, all Americans and Humanity

Kennedy v. Biden (3:23-cv-00381) District Court, W.D. Louisiana Judge Terry Alvin Doughty Filed
by David Andrew Christenson on behalf of himself, all Americans and Humanity

Bragg v. Jordan (1:23-cv-03032) SDNY Judge Mary Kay Vyskocil Filed by David Andrew
Christenson on behalf of himself, all Americans and Humanity

Trump v. Cohen (1:23-cv-21377) SDFL Judge Darrin Phillip Gayles Filed by David Andrew
Christenson on behalf of himself, all Americans and Humanity

Review the dockets in the following cases. Facebook, Twitter, and YouTube censored me on
behalf of the Executive Branch/Department of Justice and closed all my social media accounts. In
exchange they got the equivalent of reverse section 230. They could censor without liability.
Trump v. Facebook, Inc (1:21-cv-22440) District Court, $.D. Florida Judge Kathleen Mary Williams
Filed by David Andrew Christenson on behalf of himself, all Americans and Humanity

Trump v. Twitter, Inc (1:21-cv-22441) District Court, $.D. Florida Judge Robert Nichols Scola Jr.
Filed by David Andrew Christenson on behalf of himself, all Americans and Humanity

Trump v. YouTube, LLC (1:21-cv-22445) District Court, S.D. Florida Judge Kevin Michael Moore
Filed by David Andrew Christenson on behalf of himself, all Americans and Humanity

Godspeed.

Sincerely,

David Andrew Christenson

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Case 1:23-cv-03621-SCJ Document 57 Filed 08/24/23 Page 12 of 15

My books have been removed/censored/sanitized from the Library of Congress. All references to me and
my books have been removed/censored/sanitized from the Library of Congress. My books have Library of
Congress Control Numbers (LCCN). This book was placed into the Library of Congress in 2012.

The United States Supreme Court and The Katrina Virus
A Prelude/Reference Book/Appendix - Book 7
By David Andrew Christenson
ISBN 978-0-9846893-8-5 Hardback SACK
ISBN 978-0-9846893-9-2 EBook SCKV
LCCN 2012933074
Copyright 1-724163643
Persimmon Publishing
Box 9063
Miramar Beach, Florida 32550

An Epic Constitutional Crisis. | am talking about the political destruction of all three branches (Executive,
Judicial and Legislative) of our Federal Government. One hundred and fifty five million Americans and
Canadians may be infected with The Katrina Virus. Did the United States Supreme Court participate in
the criminal cover-up? Misprision is a crime/felony. In simple terms it means that you had knowledge of
a crime and did nothing. Did the Supreme Court have knowledge? YES! | gave them the knowledge. The
real question is: what did the Supreme Court do with the knowledge of The Katrina Virus and the cover-
up?

There was no simple way to present this story. | fully acknowledge that the material is presented in an
incoherent manner. What you are reading is a compilation of my communications with the Supreme
Court since my arrest for cyberstalking FBI Special Agent Steven Rayes on March 15", 2011. It must be
emphasized that | was arrested on a Louisiana Warrant (not a Federal Warrant as one would expect.) and
| have never been charged with a crime. A Louisiana Search and Seizure Warrant was used by the FBI to
steal my evidence, documentation, etc. of what happened in New Orleans after Hurricane Katrina. In
simplistic terms chemical warfare contaminates were released from DOD and CIA classified facilities. The
United States Military conducted operational missions in violation of Federal Law and killed Americans.
1500 Americans are still missing. Were the contaminated bodies recovered, analyzed and burned in
Federal Government incinerators? Are some of the bodies being kept alive in vegetative states so that
the Federal Government can study the long term effects of the Katrina Virus? (Remember the Syphilis
Studies in Alabama and Guatemala.)

Case 1:23-cv-03621-SCJ Document 57 Filed 08/24/23 Page.13 of 15

Sensitive Compartmentalized Information (SCI) - #52 August 16", 2023 (Published on Amazon.com)

Amazon Title: When the U.S. Marshals, Secret Service, FBI, and the U.S. Military come to me, and ask
if they should hang you for Murder Suicide, Treason, Genocide, and Crimes Against Humanity, how
should | respond? (Be honest with yourself. You have allowed Biden, Trump, and Roberts to hang you.
Why not let them?)

| will point out that you all suffer from Roberts Chutkan Cannon Syndrome - RCC Syndrome, Tribal
Subjectivity and Sunarcissism and that you are in the process of committing Murder Suicide, Treason,
Genocide, and Crimes Against Humanity. There is no cure, so hanging might be the best option. | will
also point out that you all murdered them and their families. Do you think they will listen to me? “NO.”
(You all are dead people walking, no matter what. The only difference is if you die by suicide or hanging,
but either way you will die.) Odd way to say this: “The only people we should not hang are those that
want to compete, survive and procreate.” “Why waste our limited resources on those people that want
to die anyway?” | am talking about you.

CHANGE THE NARRATIVE. YOU CAN’T BE SAVED IF YOU

DON’T.

Attorney General Merrick Garland
Chief Justice Sri Srinivasan

Clerk Mark Langer

Chief Executive Betsy Paret
Special Counsel Robert Hur
Special Counsel Jack Smith
Special Counsel John Durham
Special Counsel David Weiss
Judge John G. Koeltl

Chief Judge Laura Taylor Swain
Chief Justice William Pryor Jr.
Clerk David Smith

Circuit Executive Ashlyn Beck
Judge Ellen Lipton Hollander
Judge Ursula Ungaro

Judge Lee H. Rosenthal

USAA CEO Wayne Peacock

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Jane Sullivan Roberts

Chief Justice John G. Roberts
Vice Admiral John N. Christenson
Judge Darrin P. Gayles

Judge Mary Kay Vyskocil

Judge Aileen Mercedes Cannon

Clerk Angela E. Noble

Judge Terry Alvin Doughty
Judge Amy Berman Jackson
Judge Emmet G. Sullivan
Judge Tanya Sue Chutkan
Clerk Angela Caesar

Judge Kathleen Mary Williams
Judge Robert N. Scola, Jr.
Judge Kevin Michael Moore
Robert Morse

Dean Allara

Jonath Slager

Adam O’Farrell

General Counsel Matthew Grant
General Counsel Allison Ramirez
Lindsey Daugherty

Judge James E. Boasberg
Christopher Michael Kise
Todd Blanche

David Harbach

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Karen E. Gilbert

J.P. Cooney
Case 1:23-cv-03621-SCJ Document 57

Sincerely,

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